                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 04-CR-191

ALEJO URQUIZA
                     Defendant.


                                          ORDER

                                    I. BACKGROUND

       On July 27, 2004, the government filed a criminal complaint against defendant Alejo

Urquiza, alleging his participation in a conspiracy to distribute cocaine. (R. 1.) The

magistrate judge issued a warrant, and the marshals arrested defendant the next day. The

magistrate judge temporarily detained defendant and adjourned the matter until July 30 for

a detention hearing. (R. 2, 3.) At the detention hearing, the government noted that

Immigration and Customs Enforcement (“ICE”) had lodged a detainer against defendant

as an illegal alien. The magistrate judge allowed defendant’s release on $30,000 cash or

property, with conditions including electronic monitoring, reporting to pre-trial services as

directed, random urinalysis and travel restrictions. (R. 5.)

       The grand jury returned an indictment against defendant and several others on

August 17, 2004 (R. 13), and after being arraigned on August 19, defendant entered a plea

of not guilty (R. 15). The magistrate judge set a motion schedule, but because of its

complexity the case was not then set for trial. (R. 43, 45.)




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       On August 27, 2004, Rodolfo Urquiza posted $30,000 cash on defendant’s behalf

(R. 28), and on August 31, 2004, the magistrate judge signed an order setting conditions

of release (R. 29) and defendant executed an appearance bond (R. 30).1 Immediately

after his release, ICE apparently took defendant into custody and on or about September

2, deported him to Mexico.

       On July 11, 2005, after the completion of the motion period, I scheduled the case

for final pre-trial on October 28 and trial on November 7. Defendant did not appear at the

final pre-trial, and the government advised me that it had deported him. On April 7, 2006,

the government moved to forfeit the bond money. Defendant, by counsel, opposes the

request.

                                      II. DISCUSSION

       Fed. R. Crim. P. 46(f) requires the court to “declare the bail forfeited if a condition

of the bond is breached.” See also 18 U.S.C. § 3146(d) (“If a person fails to appear before

a court as required, and the person executed an appearance bond pursuant to section

3142(b) of this title . . ., the judicial officer may, regardless of whether the person has been

charged with an offense under this section, declare any property designated pursuant to

that section to be forfeited to the United States.”). Rule 46(f)(2) allows the court to set

aside in whole or in part a bail forfeiture if “it appears that justice does not require bail

forfeiture.”

       In the present case, the government contends that defendant violated a condition

of his bond by failing to appear at the October 28 final pre-trial. The government further


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        It appears that this was a non-surety bond, signed only by defendant. Defendant’s
family posted the full amount of cash required.

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states that, although it deported defendant, he was advised through his attorney of

procedures by which he can re-enter the country to attend court hearings. Finally, the

government states that defense counsel has advised that defendant does not intend to

avail himself of such procedures or to otherwise appear for trial. Therefore, it asks me to

forfeit the bond money.

      In his response to the government’s motion, defense counsel states that prior to the

posting of bail he spoke to the AUSA then assigned to the case and asked if bail would be

forfeited if defendant were deported, and the AUSA said no. Counsel states that he then

informed defendant’s family, and they raised the funds necessary to secure defendant’s

release. Counsel attaches a list of the sources of the funds, which the AUSA approved

prior to posting. (Def.’s Resp. Ex. D.) Counsel states that after the government deported

defendant, the AUSA told him that until defendant missed a court date the government

would take no action. Counsel further states that after he received the government’s

motion he spoke to the assigned ICE agent, who indicated that his agency would not have

advised defendant on how to re-enter the United States to attend to his court case. The

agent also indicated to counsel that the government would have to request defendant’s re-

entry and return for trial, and that he offered to drop the immigration hold prior to the

deportation but the government declined. Finally, counsel states that he does not recall

receiving any documents explaining how defendant could return to this country for trial.2

Thus, counsel contends that because defendant is absent due to the actions of the




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      Counsel submits an affidavit containing these representations.           I gave the
government a chance to reply, but it has not done so.

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government in deporting him, the court should not forfeit the bail money. In the alternative,

he requests that the forfeiture be set aside.

       In deciding the present motion, I must resolve two issues. First, did defendant

breach a condition of his bond, such that the bond must be forfeited? Second, if so, should

the forfeiture be set aside in the interests of justice?

A.     Forfeiture

       Rule 46(f)(1) mandates forfeiture if a condition of bond is breached. United States

v. Gutierrez, 771 F.2d 1001, 1003 (7th Cir. 1985). However, bail need not be forfeited

where performance is rendered impossible by act of God, or of the law, or of the obligee.

United States v. Carolina Casualty Ins. Co., 237 F.2d 451, 452 (7th Cir. 1956); see also

United States v. Egan, 394 F.2d 262, 265 (2d Cir. 1968); cf. United States v. Jones, 719

F.2d 110, 111 (5th Cir. 1983) (stating that “that the government may not enforce the

forfeiture of bond when the government itself has increased the risk or made impossible

the exercise of the bail bondsman’s right to arrest the individual and surrender him to

authorities”). For instance, in Carolina Casualty, the court stated that the involuntary

induction of the defendant into the army, or similar control exercised over him by the

government, could discharge the bond obligation. 237 F.2d at 452-53.3

       In the present case, by removing defendant from the country, the government

rendered his appearance in court impossible. The government contends that defendant

could have followed certain procedures to re-enter the country to attend his trial. However,

it does not describe those procedures or present any evidence that defendant was notified


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       In Carolina Casualty, the court forfeited the bond because the army had discharged
the defendant four months prior to the default and forfeiture. Id. at 453.

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of them. Therefore, I cannot conclude that defendant could have returned to the United

States and appeared for trial.

B.     Set Aside

       Even if I am required to forfeit defendant’s bail, I conclude that the forfeiture should

be set aside in the interests of justice. In determining whether to set aside, I ask whether

the defendant’s breach was wilful, whether the defendant presents any explanation or

mitigating factors, and whether the government suffered any prejudice. Gutierrez, 771

F.2d at 1003; United States v. D’Argento, 339 F.2d 925, 927-28 (7th Cir. 1964).

       In the present case, defendant did not intentionally absent himself; the government

removed him. Further, there is no evidence that defendant (or those who posted money

on his behalf) knew that the government would remove him or that, if it did, it would seek

forfeiture. Finally, the government cannot demonstrate any prejudice because it caused

the removal. ICE and the United States Attorney’s Office are both arms of the Department

of Justice. The right hand cannot complain about the actions of the left. And because the

government knew of the deportation long before trial, it suffered no cost or inconvenience

in preparing. Under these circumstances, justice requires that any forfeiture be set aside.

                                     III. CONCLUSION

       THEREFORE, IT IS ORDERED that the government’s motion for forfeiture (R. 148)

is DENIED.

       Dated at Milwaukee, Wisconsin, this 19th day of September, 2006.

                                           /s Lynn Adelman
                                           ________________________________________
                                           LYNN ADELMAN
                                           District Judge


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